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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                        CRIMINAL ACTION

               v.                                               NO. 18-193-1, 2

DKYLE JAMAL BRIDGES, et al.
         Defendants

                                             ORDER

      AND NOW, this 19th day of February 2019, upon consideration of Defendant Dkyle Jamal

Bridges' motion to suppress physical evidence, (Doc. 55), Defendant Kristian Jones' motion to

suppress, (Doc. 65), the Government's responses thereto, (Doc. 81), the hearing held on February

14 and February 15, 2019, and Defendants' oral requests for the opportunity to file post-hearing

briefs, it hereby ORDERED that Defendants' oral requests are GRANTED. Accordingly, the

transcripts of the testimony offered are due by February 21, 2019, the parties' post-hearing briefs

shall be filed no later than February 28, 2019, and any responses thereto may be filed no later

than March 7, 2019.



                                             BY THE COURT:


                                             /s/ Nitza I QuiPiones Alejandro
                                             NITZA I. QUINONES ALEJANDRO
                                             Judge, United States District Court
